
PER CURIAM.
This is an appeal from a judgment and sentence entered by the Circuit Court for Volusia County, Florida. The public defender filed an Anders1 motion and brief, requesting leave to withdraw as counsel for appellant and representing to this court that no reversible error appears. On May 14, 1980, this court gave the appellant thirty (30) days within which to file a brief in his own behalf. No such brief has been filed.
The defendant entered a plea of guilty, therefore this court does not have jurisdiction to review the judgment. Fla.R.App.P. 9.140(b). This court does have jurisdiction to review the sentence. Fla.R.App.P. 9.140(b)(1)(D).
The court has reviewed the brief and the record herein and no reversible error appears. The motion of the public defender to withdraw is hereby granted and the sentence is hereby affirmed.
AFFIRMED.
ORFINGER, SHARP and COWART, JJ„ concur.

. Anders v. California, 386 U.S. 738, 87 S.Ct. 1509, 12 L.Ed.2d 723 (1967).

